Case 2:02-cr-20165-BBD-tmp Document 610 Filed 08/19/05 Page 1 of 4 Page|D-854 -

FTI.ED B'Y ___*___ D.C.

IN THE UNITED STATES DISTRICT COURT 05 AUG l9 PH 2: 59
FOR THE WESTERN DISTRICT oF TENNESSEE

 

 

 

WESTERN DIVISION MW§Y§WGHQ}AD
* = <I }»ll_:l`¥MIS
UNITED STATES OF AMER_ICA, *
ar
Plaintiff, * Case No.: 02-20165 D
*
v. *
*
ROBERT MURRAY BOHN, *
*
Defendant. *
*
TRIAL SCHEDULE
The court will establish the following schedule for the trial of this matter:
M

Monday, September 12, 2005
9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:30 p.m.

Tuesday, September 13, 2005
9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:30 p.m.

Wednesday, September 14, 2005
9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:30 p.m.

Thursday, September 15, 2005
12:30 p.m. - 6:00 p.m.

Friday, September 16, 2005
8:30 a.rn. - 12:30 p.m.

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WEEK 2

Monday, September 19, 2005
9:00 a.m.-12:30 p.m
2:00 p.m. - 5:30 p.m.

Tuesday, September 20, 2005
9:00 a.m. - 12:30 p.m.
2100 p.m. - 5:30 p.m.

Wednesday, September 21, 2005
9:00 a.m. - 12:30 p.m.
2:00 p.m. ~ 5:30 p.m.

Thursday, September 22, 2005
2:00 p.m. - 6:00 p.m.

Friday, September 23, 2005
8:45 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

WEEK 3

Monday, September 26, 2005
9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:30 p.m.

Tuesday, September 27, 2005
9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:30 p.m.

Wednesday, September 28, 2005
COURT NOT IN SESSION

Thursday, September 29, 2005
COURT NOT IN SESSION

Friday, September 30, 2005
COURT NOT IN SESSION

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WEEK 4

To Be Determioed

IT ls so 0RDERE1) this [E[ "“ day of @%,_ML, 2005.

wce BOUIE DONALD -
ITED STATES DISTRICT JUDGE

 

UNITED STATES DISTRIC= COURT- WESTERN DISTRICT OF TENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

